Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 1 of 22                       PageID #: 35




                            UNITED STATES DISTRICT COURT
                                    District of Maine



                                                   )
 DONALD and SHERRIE DEMMONS,                       )   Docket No. 2:16-cv-00360-JAW
                 Plaintiffs                        )
                                                   )
 v.                                                )
                                                   )
 KNOX COUNTY, KNOX COUNTY                          )
 SHERIFF’S DEPARTMENT, DONNA                       )
 DENNISON, NATHANIEL JACK, and                     )
 JAMES MOORE,                                      )
                  Defendants                       )
                                                   )


      ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS KNOX COUNTY,
         KNOX COUNTY SHERIFF’S DEPARTMENT AND DONNA DENNISON


        NOW COME Defendants Knox County, Knox County Sheriff’s Department, and Donna

Dennison, through counsel, and respond to the allegations contained in Plaintiffs’ Complaint as

follows:

                                   AFFIRMATIVE DEFENSES

        1. Plaintiffs’ Complaint fails to state a cause of action against these Defendants.

        2. The Knox County Sheriff’s Department is not an entity capable of suing or being sued.

        3. To the extent that Defendant Dennison is sued in her individual capacity, she is entitled

to qualified immunity.

        4. To the extent that Defendant Dennison is sued in her individual capacity, she is entitled

to discretionary function immunity under the Maine Tort Claims Act.

        5. To the extent that Defendant Dennison is sued in her individual capacity, she is entitled

to intentional act immunity under the Maine Tort Claims Act.
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 2 of 22                        PageID #: 36




       6. These Defendants are generally immune under the Maine Tort Claims Act.

       7. Plaintiffs’ Complaint fails to state a cause of action against these Defendants for punitive

damages.

                                            ANSWER

                                            Introduction

       1. These Defendants deny the allegations contained in Paragraph 1 of Plaintiffs’ Complaint.

                                      Jurisdiction and Venue

       2. The allegations contained in Paragraph 2 of Plaintiffs’ Complaint state a legal conclusion

to which no response is required.

       3. The allegations contained in Paragraph 3 of Plaintiffs’ Complaint state a legal conclusion

to which no response is required.

                                              Parties

       4. These Defendants admit the allegations contained in this paragraph of Plaintiffs’

Complaint.

       5. These Defendants admit the allegations contained in this paragraph of Plaintiffs’

Complaint.

       6. These Defendants admit the allegations contained in this paragraph of Plaintiffs’

Complaint.

       7. The allegations contained in Paragraph 7 of Plaintiffs’ Complaint state a legal conclusion

to which no response is required. To the extent that a response is required, these Defendants state

that their legal obligations and duties are established by law and they admit so much as the law

requires and no more.


                                                 2
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 3 of 22                         PageID #: 37




       8. The allegations contained in Paragraph 8 of Plaintiff’s Complaint do not require a

response.

       9. Defendants admit the allegations contained in Paragraph 9 of Plaintiffs’ Complaint but

further and specifically aver that Sheriff Dennison’s responsibility for training, supervision, and

discipline are responsibilities only in her official capacity, and not her individual capacity.

       10. The allegations contained in the first sentence of Paragraph 10 state a legal conclusion

to which no response is required. To the extent a response is required, these Defendants admit so

much as the law requires them to, and no more. These Defendants admit that Sheriff Dennison is

sued only in her official capacity. These Defendants further admit that Sheriff Dennison’s actions

as alleged in the Complaint were taken under color of law.

       11. The allegations contained in Paragraph 11 of Plaintiffs’ Complaint are directed to

defendants other than those answering herein, and no response is therefore required of these

Defendants.

       12. The allegations contained in Paragraph 12 of Plaintiffs’ Complaint are directed to

defendants other than those answering herein, and no response is therefore required of these

Defendants.

                                         Statement of Facts

       13. These Defendants admit the allegations contained in this paragraph of Plaintiffs’

Complaint.

       14. These Defendants admit the allegations contained in this paragraph of Plaintiffs’

Complaint.




                                                  3
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 4 of 22                       PageID #: 38




        15. The allegations contained in Paragraph 15 of Plaintiffs’ Complaint state a legal

conclusion to which no response is required. To the extent that a response is required, these

Defendants deny the allegations contained therein as mis-stating the duties imposed by law.

        16. The allegations contained in Paragraph 16 of Plaintiffs’ Complaint state a legal

conclusion to which no response is required. To the extent that a response is required, these

Defendants deny the allegations contained therein as mis-stating the duties imposed by law.

        17. Upon information and belief, these Defendants admit the allegations contained in

Paragraph 17 of Plaintiffs’ Complaint.

        18. Upon information and belief, these Defendants admit the allegations contained in

Paragraph 18 of Plaintiffs’ Complaint.

        19. Upon information and belief, these Defendants admit the allegations contained in the

first sentence of Paragraph 19 of Plaintiffs’ Complaint. Upon further information and belief, these

Defendants are without sufficient knowledge or information so as to form a belief as to the truth of

the remaining allegations contained in Paragraph 19 of Plaintiffs’ Complaint and therefore deny

same.

        20. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

        21. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.




                                                 4
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 5 of 22                       PageID #: 39




       22. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       23. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       24. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       25. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       26. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       27. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       28. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.




                                                 5
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 6 of 22                       PageID #: 40




       29. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       30. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       31. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       32. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       33. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       34. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       35. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.




                                                 6
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 7 of 22                           PageID #: 41




        36. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

                                                 Count I
                    Violation of Constitutional Rights under 42 U.S.C. § 1983, et seq
                                 Knox County Defendants and Dennison

        37. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 36 of Plaintiffs’ Complaint as if fully set forth herein.

        38. The allegations contained in Paragraph 38 of Plaintiffs’ Complaint state a legal

conclusion to which no response is required. To the extent a response is required, these Defendants

refer to and incorporate by reference any legal authority establishing their obligations and

responsibilities.

        39. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

        40. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

        41. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

        42. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

        43. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.




                                                   7
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 8 of 22                       PageID #: 42




       44. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                             Count II
                Violation of Federal Constitutional Rights under 42 U.S.C. § 1983
                     Defendants Jack and Moore - Illegal Search and Seizure

       45. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 44 of Plaintiffs’ Complaint as if fully set forth herein.

       46. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       47. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       48. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                            Count III
                Violation of Federal Constitutional Rights under 42 U.S.C. § 1983
                Defendants Jack and Moore - False Arrest and False Imprisonment

       49. These Defendants repeat and reassert their responses to Paragraphs 1 through and


                                                  8
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 9 of 22                       PageID #: 43




including 48 of Plaintiffs’ Complaint as if fully set forth herein.

       50. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       51. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       52. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       53. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       54. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       55. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.




                                                  9
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 10 of 22                       PageID #: 44




                                            Count IV
                Violation of Federal Constitutional Rights under 42 U.S.C. § 1983
                          Defendants Jack and Moore - Excessive Force

       56. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 55 of Plaintiffs’ Complaint as if fully set forth herein.

       57. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       58. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       59. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       60. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       61. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.




                                                  10
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 11 of 22                       PageID #: 45




                                             Count V
                Violation of Federal Constitutional Rights under 42 U.S.C. § 1983
                        Defendant Moore - Failure to Supervise and Train

       62. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 61 of Plaintiffs’ Complaint as if fully set forth herein.

       63. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       64. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       65. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       66. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       67. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.




                                                  11
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 12 of 22                       PageID #: 46




                                            Count VI
                Violation of Federal Constitutional Rights under 42 U.S.C. § 1983
                        Defendant Jack - Substantive Due Process Rights

       68. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 67 of Plaintiffs’ Complaint as if fully set forth herein.

       69. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       70. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       71. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       72. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                            Count VII
                Violation of Federal Constitutional Rights under 42 U.S.C. § 1983
                             Defendants Jack and Moore - Conspiracy

       73. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 72 of Plaintiffs’ Complaint as if fully set forth herein.


                                                  12
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 13 of 22                       PageID #: 47




       74. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       75. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       76. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                            Count VIII
                                Federal Claims - Punitive Damages

       77. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 76 of Plaintiffs’ Complaint as if fully set forth herein.

       78. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint..    These Defendants further and specifically assert that the law does not allow recovery

of punitive damages as against them.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.




                                                  13
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 14 of 22                    PageID #: 48




                                             Count IX
              Violation of State Constitutional Rights under 5 M.R.S. § 4681, et seq
                         Knox County Defendants and Sheriff Dennison

       79. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 78 of Plaintiffs’ Complaint as if fully set forth herein.

       80. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint. These Defendants further and specifically assert that the law does not allow recovery

of punitive damages as against them.

       81. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

       82. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

       83. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

       84. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

       85. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

       86. These Defendants deny the allegations contained in this paragraph of Plaintiffs’

Complaint.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.




                                                  14
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 15 of 22                       PageID #: 49




                                             Count X
              Violation of State Constitutional Rights under 5 M.R.S. § 4681, et seq
                     Defendants Jack and Moore - Illegal Search and Seizure

       87. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 86 of Plaintiffs’ Complaint as if fully set forth herein.

       88. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       89. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       90. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                            Count XI
              Violation of State Constitutional Rights under 5 M.R.S. § 4681 et seq
               Defendants Jack and Moore - False Arrest and False Imprisonment

       91. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 90 of Plaintiffs’ Complaint as if fully set forth herein.

       92. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.


                                                  15
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 16 of 22                       PageID #: 50




       93. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       94. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       95. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       96. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       97. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                            Count XII
             Violation of Federal Constitutional Rights under 5 M.R.S. § 4681 et seq
                          Defendants Jack and Moore - Excessive Force

       98. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 97 of Plaintiffs’ Complaint as if fully set forth herein.




                                                  16
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 17 of 22                       PageID #: 51




       99. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and therefore

deny same.

       100. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       101. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       102. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       103. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                            Count XIII
              Violation of State Constitutional Rights under 5 M.R.S. § 4681 et seq
                        Defendant Jack - Substantive Due Process Rights

       104. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 103 of Plaintiffs’ Complaint as if fully set forth herein.




                                                  17
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 18 of 22                     PageID #: 52




       105. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       106. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       107. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       108. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                            Count XIV
              Violation of State Constitutional Rights under 5 M.R.S. § 4681 et seq
                            Defendants Jack and Moore - Conspiracy

       109. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 108 of Plaintiffs’ Complaint as if fully set forth herein.

       110. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.




                                                  18
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 19 of 22                     PageID #: 53




       111. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       112. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       113. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                            Count XV
              Violation of State Constitutional Rights under 5 M.R.S. § 4681 et seq
                        Defendant Moore - Failure to Supervise and Train

       114. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 113 of Plaintiffs’ Complaint as if fully set forth herein.

       115. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       116. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.




                                                  19
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 20 of 22                     PageID #: 54




       117. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       118. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       119. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       120. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                           Count XVI
                                Maine Tort Claims Act - Negligence

       121. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 120 of Plaintiffs’ Complaint as if fully set forth herein.

       122. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.




                                                  20
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 21 of 22                      PageID #: 55




       123. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       124. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and

therefore deny same.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

                                           Count XVII
                               Punitive Damages - State Law Claims

       125. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 124 of Plaintiffs’ Complaint as if fully set forth herein.

      126. These Defendants deny the allegations contained in this paragraph of Plaintiffs’
Complaint.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiffs on

Plaintiffs’ Complaint, plus attorneys fees, interest, and costs.

Dated: September 9, 2016                               /s/ Peter T. Marchesi
                                                       Peter T. Marchesi, Esq.


                                                       /s/ Cassandra S. Shaffer
                                                       Cassandra S. Shaffer, Esq.

                                                       Attorneys for Defendants Knox County, Knox
                                                       County Sheriff’s Department, and Donna
                                                       Dennison
                                                       Wheeler & Arey, P.A.
                                                       27 Temple Street, P.O. Box 376
                                                       Waterville, ME 04903-0376


                                                  21
Case 2:16-cv-00360-JAW Document 4 Filed 09/09/16 Page 22 of 22                    PageID #: 56




                           UNITED STATES DISTRICT COURT
                                   District of Maine



                                                   )
 DONALD and SHERRIE DEMMONS,                       )    Docket No. 2:16-cv-00360-JAW
                 Plaintiffs                        )
                                                   )
 v.                                                )
                                                   )
 KNOX COUNTY, KNOX COUNTY                          )
 SHERIFF’S DEPARTMENT, DONNA                       )
 DENNISON, NATHANIEL JACK, and                     )
 JAMES MOORE,                                      )
                  Defendants                       )
                                                   )


                               CERTIFICATE OF SERVICE

        I, Peter T. Marchesi, Esq., attorney for Defendants Knox County, Knox County Sheriff’s
Office, and Donna Dennison hereby certify that:

       !      Answer and Affirmative Defenses of Defendants Knox County, Knox County
              Sheriff’s Department, and Donna Dennison

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Scott F. Hess, Esq.          scott@hesslawme.com


Dated: September 9, 2016                                /s/ Peter T. Marchesi
                                                       Peter T. Marchesi, Esq.
                                                       Attorney for Knox County Defendants
                                                       Wheeler & Arey, P.A.
                                                       27 Temple Street, P.O. Box 376
                                                       Waterville, ME 04903-0376




                                              22
